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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Civil Action No. 23-cv-01948-PAB-KAS

  COLORADO REPUBLICAN PARTY,
  an unincorporated nonprofit association, on behalf of itself and its members,

         Plaintiff,

  v.

  JENA GRISWOLD, in her official capacity as Colorado Secretary of State,

         Defendant.


                                    STIPULATED ORDER

  ENTERED BY MAGISTRATE JUDGE KATHRYN A. STARNELLA

         The production of privileged or work-product protected documents, electronically
  stored information (“ESI”) or information, whether inadvertent or otherwise, is not a
  waiver of the privilege or protection from discovery in this case or in any other federal or
  state proceeding. This Order shall be interpreted to provide the maximum protection
  allowed by Federal Rule of Evidence 502(d).

        Nothing contained herein is intended to or shall serve to limit a party’s right to
  conduct a review of documents, ESI or information (including metadata) for relevance,
  responsiveness and/or segregation of privileged and/or protected information before
  production.
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         SO ORDERED


                  11/17/2023
         Dated: ____________               _________________________
                                           Hon. Kathryn A. Starnella
                                           United States Magistrate Judge
